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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Case No. 1:21-cv-03043-RM-STV

   SHELLEY LEVINE, et al.,

                                Plaintiffs,
   v.

   THE PALESTINE LIBERATION ORGANIZATION
   and THE PALESTINIAN AUTHORITY (a/k/a “The
   Palestinian Interim Self-Government Authority” and/or
   “The Palestinian National Authority”),

                                Defendants.


                     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION
                    TO DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT
                           UNDER RULE 12(b)(2) AND RULE 12(b)(6)


            Plaintiffs, Shelley Levine, et al. (collectively “Plaintiffs”), submit this Opposition to

   Defendants’ Motion to Dismiss Plaintiffs’ First Amended Complaint Under Rule 12(b)(2) and

   Rule 12 (b)(6) as follows:




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                                              Introduction

            This is a civil action under the Antiterrorism Act (“ATA”), 18 U.S.C. § 2331, et seq., and

   supplemental causes of action, arising from a terrorist attack carried out on November 18, 2014,

   during morning prayers in a synagogue in Jerusalem, Israel (“Attack”).

            Congress enacted the ATA in response to the 1985 murder of Leon Klinghoffer by

   defendant, the Palestine Liberation Organization (“PLO”). Klinghoffer was an elderly, wheelchair-

   bound Jewish American who was shot in the head and tossed overboard in his wheelchair by PLO

   terrorists who had hijacked the Achille Lauro cruise ship. Goldberg v. UBS, 660 F. Supp. 2d 410,

   421-22 (E.D.N.Y. 2009) (PLO’s murder of Klinghoffer an “essential inspiration for the ATA.”).

   Unfortunately, since Mr. Klinghoffer’s murder, many more American citizens have been killed or

   injured by terrorist attacks carried out by or with the assistance of the PLO, and its governmental

   affiliate, defendant Palestinian Authority (“PA”). As a result, numerous ATA actions have been

   brought against the PLO and PA in our federal courts over the past two decades. Cf. Sokolow v.

   PLO, 2015 WL 10852003 (S.D.N.Y. Oct. 1, 2015), vacated on other grounds, 835 F.3d 317 (2d

   Cir. 2016) (entering judgment on jury trial verdict finding the PLO and PA liable under the ATA

   for six terrorist attacks in Jerusalem in which five Americans were murdered and many injured).

            Defendants have moved to dismiss Plaintiffs’ First Amended Complaint (“FAC”) for lack

   of personal jurisdiction and failure to state a claim pursuant to Fed. R. Civ. P. 12(b)(2) and (b)(6).

   (DE 58). For the reasons set forth below, the motion should be denied.




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                                               ARGUMENT

   I. PERSONAL JURISDICTION

            Defendants’ Rule 12(b)(2) motion should be denied because this Court has acquired

   personal jurisdiction over Defendants on multiple bases.

       a. The PLO and PA Are Not “Persons” Under the Due Process Clause

            Defendants concede that, because ATA § 2334(a) permits nationwide service of process,

   and because they have waived service, this Court may exercise personal jurisdiction over them

   under Fed. R. Civ. P. (4)(k), provided only that the exercise of jurisdiction is not barred by the

   Fifth Amendment’s Due Process Clause. The Due Process Clause cannot possibly bar exercise of

   personal jurisdiction over these Defendants because it applies only to a “person,” and neither the

   PA nor the PLO is a “person” within the meaning of the Clause.

            There is no dispute “the PA is a non-sovereign governmental entity.” FAC ¶ 119. “The PA

   was established by the 1993 Oslo Accords as the interim and non-sovereign government of parts

   of the West Bank and the Gaza Strip.” Waldman v. PLO, 835 F.3d 317, 322 (2d Cir. 2016).1 It is

   axiomatic due process clause provisions “protect natural persons and private corporations, not

   government, from arbitrary actions by the sovereign. The notion [a] political body created by the

   state enjoys protection, by virtue of the due process clause, from enforcement of the laws of its




   1
    The PA’s legal status and the scope of authority were analyzed in detail in Knox v. PLO, 306 F. Supp. 2d
   424, 430-38 (S.D.N.Y. 2004) and Ungar v. PA, 315 F. Supp. 2d 164, 177-82 (D.R.I. 2004).


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   own or some other sovereign is not supported by either the case law or the language of the clause.”

   Creek v. Village of Westhaven, 1987 WL 5429, at *7 (N.D. Ill. Jan. 15, 1987) (emphasis added).2

            Courts have therefore consistently held governmental entities—domestic or foreign,

   sovereign or not—are not a “persons” within the meaning of the Due Process Clause. The Clause

   provides “[n]o person shall... be deprived of life, liberty, or property, without due process of

   law[.]” U.S. Const. Amend. V (emphasis added); Taha v. Bucks Cnty. Pennsylvania, 172 F. Supp.

   3d 867, 873 (E.D. Pa. 2016) (“[d]efendants have failed to cite any precedent to support the

   suggestion that, as government entities, they are entitled to due process.” (emphasis added); Cf.

   South Carolina v. Katzenbach, 383 U.S. 301, 323 (1966) (“word ‘person’ in the context of Due

   Process Clause […] cannot, by any reasonable mode of interpretation, be expanded to encompass

   the States of the Union.”); Oklahoma v. Int'l Registration Plan, Inc., 455 F.3d 1107, 1113-14 (10th

   Cir. 2006) (“Oklahoma concedes that, as a State, it is not protected by the Due Process Clause[.]”);

   City of E. St. Louis v. Cir. Ct. for the Twentieth Jud. Cir., St. Clair Cnty., Ill., 986 F.2d 1142, 1144

   (7th Cir. 1993) (“Municipalities cannot challenge state action on federal constitutional grounds

   because they are not ‘persons’ within the meaning of [Due Process Clause].”); In re Scott Cable

   Commc’ns, Inc., 259 B.R. 536, 543 (D. Conn. 2001) (“Government entities have no right to due

   process under Fifth Amendment’s due process clause.”).

            Likewise, while the Supreme Court has never explicitly ruled whether foreign states are

   “persons” under the Due Process Clause, it has strongly hinted they are not. In Republic of




   2
    Cf. Associated Press v. Bd. of Pub. Educ., 246 Mont. 386, 390 (1991) (“The protections guaranteed by the
   constitutional right to due process were designed to protect people from governmental abuses. They were
   not designed to protect the government from the people.”).


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   Argentina v. Weltover, the Supreme Court “assum[ed], without deciding, that a foreign state is a

   ‘person’ for purposes of the Due Process Clause,” 504 U.S. 607, 619 (1992), but then cited South

   Carolina v. Katzenbach. “[T]he Court’s implication was plain: If the ‘States of the Union’ have

   no rights under the Due Process Clause, why should foreign states?” Frontera Res. Azerbaijan

   Corp. v. State Oil Co. of Azerbaijan Republic, 582 F.3d 393, 398–99 (2d Cir. 2009). Therefore,

   “[f]ollowing Weltover, the vast majority of federal courts to address this issue have determined

   that foreign states are not persons within the meaning of the Due Process Clause[.] The Court finds

   the underlying reasoning of the majority position persuasive and holds that foreign states are

   not ‘persons’ entitled to protection under the Due Process Clause.” DRFP v. Republica

   Bolivariana de Venezuela, 945 F. Supp. 2d 890, 906-07 (S.D. Ohio 2013) (collecting cases).

            Similarly, neither the Virgin Islands nor Puerto Rico are “persons” under the Due Process

   Clause. Virgin Islands v. Miller, 2010 WL 1790213, at *5 (V.I. Super. May 4, 2010) (Virgin

   Islands “[g]overnment is not a person for purposes of due process.”); Puerto Rico Pub. Hous.

   Admin. v. U.S. Dep’t of Hous. & Urb. Dev., 59 F. Supp. 2d 310, 325 (D.P.R. 1999) (Puerto Rican

   government instrumentalities are not “persons” under the Due Process Clause).

            The Department of Justice (“DOJ”), too, has consistently taken the position governmental

   entities are not “persons” under the Due Process Clause. Thus, a Memorandum Opinion prepared

   by the DOJ Office of Legal Counsel opined “the rationale of South Carolina v. Katzenbach,” where

   the Court held a state is not a person within the meaning of the Due Process Clause, is fully

   applicable to other “governmental bodies,” even when they are not “states or instrumentalities of

   states.” Office of Legal Counsel, Mutual Consent Provisions in the Guam Commonwealth




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   Legislation: Memorandum Opinion for the Special Representative for Guam Commonwealth (July

   28, 1994) at 7 (emphasis added). Declaration of Asher Perlin (“Perlin”), Ex. A.

            Similarly the DOJ has opined “the Supreme Court concluded that the Fifth Amendment’s

   guarantee of due process applies only to persons and not to States. See South Carolina v.

   Katzenbach, 383 U.S. 301, 323-24 (1966). While Katzenbach was concerned with a State, its

   rationale suggests that a governmental body […] could not assert rights under the Due Process

   Clause.” Report by the President’s Task Force on Puerto Rico’s Status, App. E (Dec. 2007) (Letter

   from Robert Raben, Assistant Attorney General, at 9 n.13) (emphasis added). Perlin, Ex. B.

            The DOJ has acted on this position. In Puerto Rico Pub. Hous. Admin. v. U.S. Dep’t of

   Hous. & Urban Dev., No. 96-1304 (D.P.R. 1996), it successfully argued that, as “political entities,”

   instrumentalities of the government of Puerto Rico are not “persons” within the meaning of the

   Due Process Clause. “United States’ Motion for Partial Dismissal,” at 24-25. Perlin, Ex. C. Cf.

   Puerto Rico Pub. Hous. Admin., 59 F. Supp. 2d at 325 (agreeing with DOJ position).

            Thus, as a governmental entity, the PA is not a “person” under the Due Process Clause.

            Nor is the PLO a “person” under the Due Process Clause. The PLO is a foreign political

   entity founded in 1964. Its structure and operations are governed by the PLO’s Basic Law, and it

   is controlled by a “Palestine National Council,” consisting of several hundred members, and a

   smaller Executive Committee, which runs its day-to-day operations. (FAC ¶ 108). As its name

   reflects—Palestine Liberation Organization—the goal and raison d’être of the PLO is to “liberate”

   territories it views as “Palestine,” located in Israel, the West Bank, and Gaza. (Id. at ¶ 114).

            The DOJ correctly explains: “Foreign entities such as the PLO obviously do not have due

   process rights since they are not part of our constitutional scheme.” Palestine Info. Office v.



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  Schultz, No. 87-5396 (D.C. Cir. 1988), Brief for the U.S., at 44 (emphasis added). Perlin Ex. D.

  Similarly, the DOJ has opined “[a]s a foreign political entity, the PLO does not itself enjoy

  constitutional protection […] It is clear, for example, that the PLO would not be recognized by

  American courts as a juridical entity capable of bringing a constitutional claim. Neither will the

  argument that the PLO is not a sovereign nation bring it within the constitutional fold.”

  Constitutionality of Closing the Palestine Information Office, an Affiliate of the Palestine

  Liberation Organization, 11 Op. O.L.C. 104 (1987) at 120 (citation omitted, emphasis added).

  Perlin Ex. E.

           Moreover, in the most recent decision to examine the constitutional status of the PLO and

  PA, Shatsky v. PLO, 2022 WL 826409 (S.D.N.Y. Mar. 18, 2022), Judge Vyskocil found that, as

  Plaintiffs assert, these Defendants are not protected by the Due Process Clause:

                It is inconsistent with our constitutional system … to extend due process
                protections to foreign governments. Our system leaves it to the political
                branches to decide how to deal with foreign governments, including whether to
                protect them from suit in U.S. courts. The Due Process Clause of the Fifth
                Amendment provides that “no person shall be ... deprived of life, liberty or
                property without due process of law.” The PLO and PA are not persons for
                purposes of constitutional due process. The Supreme Court long ago explained
                that the word “person” in the context of the Due Process Clause of the Fifth
                Amendment cannot, by any reasonable mode of interpretation, be expanded to
                encompass the States of the Union. The Second Circuit then made the
                manifestly correct observation that it would make no sense to place foreign
                states in a more favored position than U.S. states. … This reasoning should
                apply to the PLO and PA. … The executive has, in the past, structured relations
                based on its explicit understanding that the PLO and PA are not entitled to
                constitutional protections of any kind. I think that understanding was correct.

  Shatsky, 2022 WL 826409 at *5-6 (cleaned up) (emphasis added).




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           Despite this compelling analysis, Judge Vyskocil found she was bound by Second Circuit’s

  decision in Waldman, 835 F.3d 317, holding the PLO and PA are entitled to due process

  protections. Defendants, predictably, ignore Shatsky, and urge the Court to follow Waldman, and

  the decision in Livnat v. PA, 851 F.3d 45 (D.C. Cir. 2017), which adopted Waldman.

           Waldman and Livnat are unpersuasive. Waldman’s resolution of this issue is telegraphic:

  the court simply notes “sovereign states are not entitled to due process protection” and immediately

  concludes, with no analysis or discussion: “Because neither defendant is a state, the defendants

  have due process rights.” Waldman, 835 F.3d at 329. But this is a logical fallacy. The fact sovereign

  states lack due process rights, does not mean that they are the only governmental entities that lack

  due process rights. To the contrary, as shown above, courts have found and the Executive Branch

  has opined, consistently, that governmental entities—including Puerto Rico and the Virgin Islands,

  which are neither sovereign nor creatures or subdivisions of the States of the Union—are not

  “persons” under the Due Process Clause.3

           As for Livnat, that decision turns almost entirely on the Livnat plaintiffs’ narrow argument

  that the D.C. Circuit could construe its prior ruling in Price v. Socialist People’s Libyan Arab

  Jamahiriya, 294 F.3d 82 (D.C. Cir. 2002), which held foreign states have no Due Process rights,

  as including non-sovereign foreign entities as well. Livnat, 851 F.3d at 48 (“[A]ppellants … urge

  us to extend Price to the Palestinian Authority by holding that Price applies not just to sovereign




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    Waldman’s shotgun disposition of this issue may come from the fact that, unlike Plaintiffs here, the Wald-
  man plaintiffs “d[id] not cite any cases indicating [a] non-sovereign entity with governmental attributes
  lacks due process rights. All the cases cited by the plaintiffs stand for the proposition that sovereign gov-
  ernments lack due process rights.” Waldman, at 329. Lacking a full briefing on this point, including the
  extensive authorities cited by Plaintiffs here, Waldman reached an incorrect conclusion.


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  foreign states, but to any foreign entity that ‘functions as a government.’”). After analyzing Price

  and its progeny. Livnat concluded “Price’s holding applies to sovereigns alone.” Id. at 52. While

  the D.C. Circuit is an authoritative arbiter of how to construe its own prior decisions, its finding

  that Price cannot be construed to encompass foreign non-sovereign governments sheds no light on

  the actual question of whether governmental entities have Due Process rights.

           Indeed, the narrow focus in Waldman and Livnat on sovereignty is misplaced. The presence

  or absence of sovereignty is simply irrelevant to the question of whether a governmental entity is

  a “person” within the meaning of the Due Process Clause. The Virgin Islands are not sovereign,

  and neither is Puerto Rico. Nor do the States enjoy anything like the sovereignty of foreign state.

  Counties and cities are not sovereign. The false dichotomy of sovereignty-versus-personhood

  created by Waldman and Livnat lacks any conceptual or jurisprudential rationale, and appears

  (respectfully), to be result-oriented.4 Sovereignty is not the flip-side of constitutional personhood;

  there is simply no inverse symmetry whatsoever between these two statuses.

           Finally, as Judge Vyskocil explained, Waldman and Livnat are in error because they

  “paradoxically place[] the PLO and PA in a more favored position with respect to the safeguards

  of due process than both U.S. states and foreign sovereigns with whom the political branches have




  4
    For example, in support of its finding that only sovereign states lack Due Process rights, Livnat cites to
  the unpublished ruling in Toumazou v. Turkish Republic of Northern Cyprus, No. 14-7170 (D.C. Cir. Jan.
  15, 2016), regarding the Turkish Republic of Northern Cyprus (“TRNC”). Livnat notes that in Toumazou
  “we conducted the usual due-process inquiry,” even though TRNC is a non-sovereign foreign government.
  (Id. at 52). That is not really accurate. The ruling never addressed whether the TRNC is covered by the Due
  Process Clause. Perlin, Ex. F. Moreover, in the district court and on appeal, the plaintiffs simply assumed
  that TRNC does have Due Process rights. Perlin Ex. G-H. Thus, the question of whether a non-sovereign
  government is a “person” for Due Process purposes was never raised, much less adjudicated, in Toumazou.
  Livnat’s reliance on a plainly inapposite case renders it even less persuasive.


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  established friendly relations,” because “stretching the Due Process Clause to protect foreign

  governments would create serious separation-of-powers problems in our constitutional system,”

  and because “Congress has repeatedly enacted legislation that leaves no doubt about its intention

  to define our jurisdiction to include ATA suits against the PLO and PA. Yet the courts have

  interceded to protect the PLO and PA from suit.” Shatsky, 2022 WL 826409, at *6.

        b. The PLO and PA Submitted to Jurisdiction Under the PSJVTA

            Alternatively, the Court has personal jurisdiction over Defendants under the Promoting

  Security and Justice for Victims of Terrorism Act of 2019 (“PSJVTA”), Pub. L. No. 116-94, div.

  J, tit. IX, § 903, 133 Stat. 3082 (codified at 18 U.S.C. § 2334(e)).

            The PSJVTA provides the PLO and PA submit to personal jurisdiction in ATA cases if

  they: (1) made payments after April 18, 2020, to persons who were convicted or pled guilty and

  were imprisoned for terrorism that harmed a U.S. national (or made payments to the families of

  persons killed in such attacks); (2) maintained “any office … in the United States” after January

  4, 2020, except for one used exclusively for official UN business; or (3) engaged in “any activity

  while physically present in the United States” after January 4, 2020, not exempted by the PSJVTA.

            Defendants admit to having triggered the “payment” prong of the PSJVTA. DE 58 at n.4;

  DE 30 at n.5. Moreover, documents produced by Defendants to Plaintiffs in this case include

  records showing Defendants have made jurisdiction-triggering “Pay-for-Slay” payments to the

  families of the individual perpetrators of the Attack in this case. FAC ¶ 23.5




  5
      As discussed below, however, Defendants deny having triggered the U.S.-activities prong of the PSJVTA.


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           Defendants assert their statutory submission to jurisdiction under the PSJVTA is irrelevant,

  because the PSJVTA is unconstitutional. On January 6, 2022, a district judge in the Southern

  District of New York agreed the PSJVTA is unconstitutional. Fuld v. PLO, 578 F. Supp. 3d 577

  (S.D.N.Y. 2022). Two other judges in the same court quickly followed suit. Sokolow v. PLO, ---

  F.Supp.3d ----, 2022 WL 719261 (S.D.N.Y. Mar. 10, 2022); Shatsky, 2022 WL 826409.

           Fuld, Sokolow, and Shatsky are all currently on appeal in the Second Circuit. Therefore,

  the status of the PSJVTA is to some degree in flux. If the Second Circuit finds the PSJVTA

  constitutional, Defendants will be collaterally estopped from pursuing their constitutional

  challenge to the PSJVTA in this court; and since Defendants admit to having fulfilled a statutory

  predicate for submission to jurisdiction under the PSJVTA, jurisdiction will then be established in

  this action. On the other hand, if the Second Circuit affirms the decisions finding the

  PSJVTA unconstitutional, the issue will remain wide open in this Court and this Circuit.6

           Given this posture, Plaintiffs will first address the constitutional issue, and then briefly

  discuss the PSJVTA’s factual predicates.

           A. The PSJVTA Is Constitutional

           The law of the land is that “[t]he actions of the defendant may amount to a legal submission

  to the jurisdiction of the court, whether voluntary or not.” Ins. Corp. of Ireland v. Compagnie des

  Bauxites de Guinee, 456 U.S. 694, 704-05 (1982) (emphasis added). Cf. V&A Collection, LLC v.

  Guzzini Properties Ltd., 46 F.4th ----, 2022 WL 3589143, at *3 (2d Cir. Aug. 23, 2022) (“[t]he




  6
   Needless to say, if this Court finds that (as Plaintiffs assert) Defendants lack Due Process rights, or that it
  can exercise personal jurisdiction over Defendants under one or more of the other bases asserted in the FAC
  and discussed below, the constitutionality of the PSJVTA will become a moot issue.


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  actions of the defendant may amount to a legal submission to the jurisdiction of the court, whether

  voluntary or not.”) (quoting Bauxites).

           Fuld and its progeny are founded on the premise—which is clearly erroneous in light of

  Bauxites’ “voluntary or not” language—that a defendant’s submission to personal jurisdiction

  must be “voluntary,” in the sense that the defendant must agree, or must be deemed to have agreed,

  to the personal jurisdiction of the court. In other words, not only must the actions by which the

  defendant submits to jurisdiction be volitional (as opposed to coerced or oblivious), but the

  defendant must willingly submit to jurisdiction. In support of this mistaken premise, Fuld quotes

  language from J. McIntyre Mach., Ltd. v. Nicastro, 564 U.S. 873, 880, (2011) to the purported

  effect that a finding of consent requires “‘circumstances ... from which it is proper to infer an

  intention to benefit from and thus an intention to submit to the laws of the forum.’” Fuld, 578 F.

  Supp. 3d at 586 (quoting McIntyre) (emphasis added by Fuld).

           Proceeding from its incorrect holding that submission to jurisdiction requires an inference

  (at least) that the defendant willingly agreed to jurisdiction, Fuld then goes on to hold that such an

  “inference is reasonable … only where the defendant’s statements or conduct actually signal

  approval or acceptance.” Fuld at 586 (emphasis added). Finally, applying its “actual approval”

  test, Fuld found that the PSJVTA does not permit an inference that the PLO and PA actually, i.e.,

  willingly, approved or accepted the exercise of personal jurisdiction over them. Id. at 588. Sokolow

  and Shatsky simply echo Fuld’s reasoning and findings. Sokolow at *6; Shatsky at *5.

           But the assumption of Fuld and its progeny is wrong. As Bauxites and subsequent cases

  (such as the fresh decision of the Second Circuit in V&A Collection cited above) teach, submission

  to jurisdiction may be “voluntary or not.” The sentence fragment Fuld quoted from McIntyre,



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  which is the fulcrum on which Fuld and its progeny rest, was dicta and, moreover, that dicta is

  within Justice Kennedy’s plurality opinion in McIntyre which is not the binding opinion of the

  Court. Salt Lake City Corp. v. Sekisui SPR Americas, LLC, 2018 WL 4688356, at *4 (D. Utah

  Sept. 28, 2018) (since McIntyre lacks a majority, pursuant to Marks v. U.S., 430 U.S. 188 (1977),

  the opinion with the narrowest holding, which was Justice Breyer’s concurrence, is the holding of

  McIntyre): Ainsworth v. Cargotec USA, 4443626, at *6 (S.D. Miss. Sept. 23, 2011) (binding

  holding in McIntyre is Justice Breyer’s concurrence, not Justice Kennedy’s plurality).

           Thus, the rule stated in Bauxites that submission to jurisdiction may be “voluntary or not”

  was not disturbed or displaced by Justice Kennedy’s non-binding plurality opinion in McIntyre,

  and therefore the legal premise underpinning Fuld, Shatsky, and Sokolow is erroneous.

           For proof a defendant can unwillingly submit to personal jurisdiction, we need look no

  further than Rule 12(h)(1) of the Federal Rules of Civil Procedure—which provides a defendant

  waives a defense of lack of personal jurisdiction if she fails to assert it at the first opportunity.

           Rule 12(h)(1) is an “automatic waiver provision.” Flory v. United States, 79 F.3d 24, 25

  (5th Cir. 1996). Cf. White-Ruiz v. City of New York, 1996 WL 744892, at *2 (S.D.N.Y. Dec. 31,

  1996) (“Rule 12(h) provides for an automatic waiver.”); Mussat v. Enclarity, 362 F. Supp. 3d 468,

  476 (N.D. Ill. 2019) (“[T]he language of Rule 12(h) is unequivocal that waiver follows from the

  failure to join available motions as required by Rule 12(g)(2); it provides no discretion to excuse

  such waivers.”); Agbara v. Okoji, 2021 WL 4940927, at *3 (D.D.C. Oct. 22, 2021) (“Rule 12(h)

  denies the court discretion to grant leave to amend in the case of the defenses such as lack of

  personal jurisdiction enumerated in Rule 12(b)(2) through Rule 12(b)(5).”) (cleaned up).




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           Thus, Rule 12(h) operates automatically, and neither requires—nor allows—a court to

  examine the defendant’s “willingness” to submit to jurisdiction. Indeed, courts enforce a Rule

  12(h) waiver even when the defendant affirmatively negates her willingness to submit to

  jurisdiction by simultaneously purporting to reserve a personal jurisdiction defense. Boston

  Telecomm. Grp., Inc. v. Deloitte Touche Tohmatsu, 249 Fed.App'x 534, 536 (9th Cir. 2007)

  (defendant waived his right to assert the defense of personal jurisdiction where he did not raise it

  in his first motion to dismiss, even when he inserted a footnote in his brief stating that he “reserves

  his rights and objections to file a supplemental motion to dismiss” based on personal jurisdiction);

  CGHH, LLC v. Cesta Punta Deportes, S.A. de C.V., 2006 WL 8430970, at *3 (N.D. Ga. Mar. 31,

  2006) (“Defendants’ motion to ‘preserve’ their Rule 12 defenses does nothing to dissuade this

  Court that the general principle of Rule 12(g) that those defenses not raised in a single,

  consolidated motion under Rule 12 are forever waived should not apply.”); Hunter v. Serv-Tech,

  Inc., 2009 WL 2858089, at *3 (E.D. La. Aug. 28, 2009) (cannot “reserve” 12(b)(2)-(5) defense).

           If—as Fuld and its progeny would have it—courts were required to examine on a case-by-

  case basis whether a given defendant has willingly submitted to personal jurisdiction, the waiver

  provisions of Rule 12(h) would be unconstitutional. Those provisions are triggered automatically

  and peremptorily by the defendant’s conduct, irrespective of whether the defendant intended to

  submit to personal jurisdiction. In fact, as shown above, those waiver provisions operate even

  when the defendant explicitly disavows any intention of submitting to jurisdiction. Yet, courts

  have rejected the argument that “Rule 12(h) only creates a ‘rebuttable presumption’ of waiver




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  because personal jurisdiction is a fundamental constitutional right that cannot be inadvertently

  waived.” WW, LLC v. Coffee Beanery, Ltd., 2012 WL 3728184, at *3 (D. Md. Aug. 27, 2012).7

           Defendants do not explain, because they cannot, why the PSJVTA—enacted by the federal

  Congress with the aim of deterring terrorist attacks against American citizens—is unconstitutional,

  while the automatic waiver provision contained in Rule 12(h) (which is a mere rule of procedure

  aimed at simply boosting judicial efficiency) is constitutional.

           Put differently, the PSJVTA is constitutional for the same reason Rule 12(h) is, namely: a

  defendant may unwillingly submit to jurisdiction by conduct, as long as it has fair warning. Here,

  Defendants admit they elected to make Pay-for-Slay payments they knew would constitute

  statutory submission to jurisdiction under the PSJVTA. The fact Defendants did so while

  simultaneously objecting to jurisdiction on constitutional grounds is no more legally effective than

  protests made by defendants who purported to negate the effect of Rule 12(h) by objecting while

  engaging in conduct constituting submission to jurisdiction under the Rule.

           B. The PSJVTA Statutory Predicates

           As discussed above, Defendants have conceded they have made “at least one” payment

  triggering statutory submission to jurisdiction under the PSJVTA (DE 58 at n.4), and rested their

  challenge to personal jurisdiction under the PSJVTA solely on constitutional grounds. While

  Defendants claim they have not triggered submission to jurisdiction under the U.S.-activities prong



  7
   A court needs to engage in a particularized waiver analysis only when the defendant has complied with
  Rule 12(g) by timely asserting a personal jurisdiction defense, but subsequently behaves in a manner that
  may be deemed a submission to jurisdiction. “Rule 12(h)(1) ‘sets only the outer limits of waiver; it does
  not preclude waiver by implication.’” Tinley v. Poly-Triplex Techs., Inc., 2009 WL 812150, at *2 (D. Colo.
  Mar. 26, 2009) (quoting Hunger U.S. Special Hydraulics Cylinders Corp. v. Hardie-Tynes Mfg. Co., 203
  F.3d 835 (10th Cir. 2000)) (emphasis added, brackets omitted).


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  of the PSJVTA (because their activities fall within the PSJVTA’s exception relating to UN

  activities) they make this argument only in a footnote. Id. at n.7

           The Shatsky plaintiffs took jurisdictional discovery from Defendants regarding the factual

  predicates of the PSJVTA, i.e., regarding Defendants’ Pay-for-Slay payments and their U.S.-based

  activities. Earlier in this proceeding, the parties stipulated Defendants would produce to Plaintiffs

  the fruits of the Shatsky discovery, to eliminate or minimize any need for jurisdictional discovery

  here. Those materials were produced and they are extremely voluminous.

           Given: (a) Defendants have conceded they made a statutorily qualifying payment under the

  PSJVTA; (b) Defendants have not pressed or developed their argument about their U.S.-activities,

  except for the place-holder footnote; (c) Defendants have not challenged Plaintiffs’ factual

  allegations (FAC ¶¶ 22-25), which were based on the Shatsky production, regarding satisfaction

  of the predicates of the PSJVTA; and (d) Defendants have based their challenge to the PSJVTA

  entirely on constitutional grounds—Plaintiffs see no reason to burden the Court with the massive

  volume of underlying records from the Shatsky production, which are not now and likely never

  will be relevant or necessary to determining jurisdiction under the PSJVTA.

           If Defendants try to shift positions, or the posture of the case unexpectedly changes such

  that these documents become relevant, or the Court so orders, Plaintiffs will of course submit them.

      c. The Court Has Specific Personal Jurisdiction Over the PLO and PA

           Additionally or alternatively, the Court has specific personal jurisdiction over Defendants

  PLO and PA in this action. Specific jurisdiction is available if (1) the defendant “purposefully

  avails itself of the privilege of conducting activities within the forum,” and (2) the plaintiff’s claims

  “relate to the defendant’s contacts with the forum. Or put just a bit differently, there must be an



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  affiliation between the forum and the underlying controversy.” Ford Motor Co. v. Montana Eighth

  Jud. Dist. Ct., 141 S. Ct. 1017, 1024-25 (2021) (cleaned up, emphasis added).

           Significantly here, the Supreme Court clarified in Ford that the “relate to” test “does not

  require proof of causation between a plaintiff’s suit and a defendant’s activities.” Ditter v. Subaru

  Corp., 2022 WL 889102, at *2 (D. Colo. Mar. 25, 2022) (cleaned up, citing Ford). Therefore,

  because a causal connection is no longer required, a “plaintiff can meet the ‘relate to’ component

  by another kind of relationship, affiliation, or connection,” between the defendant’s forum contacts

  and plaintiffs’ claim, such as “by showing that any of the defendant’s contacts with the forum are

  relevant to the merits of plaintiff’s claim.” Titan Feeding, LLC v. Corey Cattle Company, LLC,

  2022 WL 4182458, at *7 (D. Colo. Sept. 13, 2022) (cleaned up, emphasis added).

           Plaintiffs’ allegations easily provide a solid basis for the exercise of specific jurisdiction

  over Defendants in this case. The FAC alleges in detail: (1) Defendants seek to obtain territorial

  concessions from Israel (¶¶ 114-115, 121-122); (2) Defendants have for many decades had a policy

  and practice of using terrorism, and the threat of further terrorism, to obtain Israeli concessions,

  and the Attack here was carried out pursuant to that long-standing policy and practice (¶¶ 114-115,

  121-122, 150-153, 173-175); (3) Defendants admit they cannot extract concessions from Israel on

  their own, and therefore need the U.S. public and government to use their sway with Israel to

  convince it make concessions (¶¶ 116-117, 123-124, 153); (4) to cause the U.S. public and

  government to influence Israel to make concessions, Defendants used a double-pronged strategy:

  (a) Defendants employed terrorism to provoke the interest and concern of the U.S. public and

  government about Middle East peace and (b) in parallel, Defendants maintained an office and staff

  in Washington, D.C., which for years promoted and reiterated to U.S. public and government the



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  argument that in order to end the violence, Americans must use their leverage with Israel to make

  concessions to Defendants (¶¶ 14-15, 116-117, 123-124; 150-153).8

           Both prongs of the specific jurisdiction test are satisfied here. First, it is clear that by

  maintaining an actual office and a staff within the United States, Defendants “purposefully

  avail[ed] [themselves] of the privilege of conducting activities within the forum.” Ford, at 1024.9

           Second, Defendants’ activities in the United States “relate to” Plaintiffs’ claims. It is

  critical to bear in mind Defendants are not a gang of vandals or skinheads, nor are they the Mafia.

  They do not engage in or support “senseless” violence, nor do they use violence to enrich

  themselves. Defendants strategically use violence, and the threat of more violence, for a very

  specific, non-pecuniary and rational (though appalling) reason: to achieve their political goals. But

  Defendants themselves have made explicitly clear violence alone cannot move Israel to make

  concessions. FAC ¶¶ 116, 123 (“Israel is the stronger party in the equation. Palestinians have no

  way of forcing Israel to accept anything […] Do you think we would be able to force Israel to do

  things that they don’t want to do?”). Therefore, to achieve its purpose, the violence needed to be

  coupled with messaging—from Defendants’ U.S.-based personnel and directed to the American

  public and government—that the violence will end only when Israel makes the concessions sought

  by Defendants. FAC ¶ 151 (Defendants’ U.S. based officials wanted “Americans to understand”

  that “Palestinians are not looking to incite anything,” but “incitement and violence are a


  8
    “The allegations in the complaint must be taken as true to the extent they are uncontroverted by the de-
  fendant’s affidavits.” Wenz v. Memery Crystal, 55 F.3d 1503, 1505 (10th Cir. 1995) (cleaned up). De-
  fendants do not controvert these allegations at all, much less with affidavits. At this stage of the case,
  Plaintiffs “need only make a prima facie showing that jurisdiction exists,” and that “burden is light.” Id.
  9
   Because the ATA permits nationwide service of process, the relevant “forum” for personal jurisdiction
  analysis is the United States as a whole. Cohen v. Facebook, 252 F. Supp. 3d 140, 153 (E.D.N.Y. 2017).


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  consequence of occupation. Once the occupation ends, so will all the negative behavior,” and

  widely repeated this message to the American public for years before the Attack).

           Thus, there was a direct, purposeful, and strategic relationship between Defendants’ U.S.-

  based propaganda activities and their use of and provision of material support for terrorist violence.

  This Court should consider Defendants’ entire course of conduct—all the components of their

  overall “business plan” (so to speak)—and should not artificially separate their use of violence to

  achieve political goals, from the political messaging, conducted in the U.S., that Defendants

  employed as a necessary complement to their violence.

           Additionally, in examining the “related to” element in this case, the ATA’s definition of

  “international terrorism” must be considered. That is because the “relatedness” test is satisfied if

  “any of the defendant’s contacts with the forum are relevant to the merits of plaintiff’s

  claim.” Titan Feeding 2022 WL 4182458, at *7 (emphasis added). Cf. Acorda Therapeutics Inc.

  v. Mylan Pharms. Inc., 817 F.3d 755, 759 (Fed. Cir. 2016) (determining “relatedness” for specific

  jurisdiction depends on “the nature of the claim asserted”); In re Nexus 6P Prod. Liab. Litig., 2018

  WL 827958, at *4 (N.D. Cal. Feb. 12, 2018) (Supreme Court emphasized specific jurisdiction

  requires a careful examination of the nature of the asserted claims); Cockrum v. Donald J. Trump

  for President, Inc., 319 F. Supp. 3d 158, 175 (D.D.C. 2018) (“contours of plaintiffs’ claims dictate

  what constitutes suit-related conduct.”); Havel v. Honda Motor Eur. Ltd., 2014 WL 4967229 at

  *10 (S.D. Tex. Sept. 30, 2014) (“connection between a defendant’s suit-related conduct and the




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  forum state will clearly be strongest when that conduct forms one of the elements of the intentional

  tort alleged.”) (emphasis added).10

           The ATA creates a cause of action for Americans harmed “by reason of an act of

  international terrorism.” 18 U.S.C. § 2333(a). Under the ATA’s definition, “international

  terrorism” is limited to “activities that … appear to be intended— (i) to intimidate or coerce a

  civilian population; (ii) to influence the policy of a government by intimidation or coercion; or (iii)

  to affect the conduct of a government by mass destruction, assassination, or kidnapping.” §

  2331(1)(B). Thus, the ATA does not allow suits for pointless violence; rather, by definition, the

  “activities” from which an ATA action arises must appear to have been intended to impact “a

  government” (any government(s)) and/or a “civilian population” (any civilian population(s)).

           Plaintiffs’ FAC explicitly alleges the elements of ATA § 2331(1)(B) are satisfied in this

  case because Defendants’ conduct was intended to influence the United States government and the

  American public. FAC ¶¶ 183, 201. Thus, Defendants’ U.S. based conduct—the influence

  campaign conducted by their D.C. office and personnel—fulfills a statutory element of Plaintiffs’

  ATA claims, and that conduct therefore clearly “relates to” Plaintiffs’ claims here. Titan Feeding

  2022 WL 4182458, at *7 (“relatedness” exists if “any of the defendant’s contacts with the forum

  are relevant to the merits of plaintiff’s claim.”); Havel, 2014 WL 4967229, at *10 (relatedness

  “will clearly be strongest” when the defendant’s in-forum conduct constitutes “one of the elements

  of the intentional tort alleged.”)




  10
    However, the Supreme Court did “not limit ‘suit-related conduct’ to the elements of a tort.” Havel, id.
  (emphasis in the original). Thus, while conduct that is an element of the cause of action is by definition
  “suit-related,” the “relatedness” test is not limited to the actual elements of the cause of action.


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            Defendants do not contest the factual allegations underlying Plaintiffs’ theory of specific

  jurisdiction. To the contrary, Defendants admit their Washington D.C. office had a multimillion

  dollar budget and engaged in extensive activities, including “promotion of ‘the Palestinian cause

  in speeches and media.’” (DE 58 at 16-17, quoting factual findings in Waldman). 11 Rather,

  Defendants’ sole challenge to Plaintiffs’ specific jurisdiction argument is that the same argument

  was considered and rejected as a matter of law in Waldman, Livnat, Klieman v. PA, 923 F.3d 1115

  (D.C. Cir. 2019) and Shatsky v. PLO, 955 F.3d 1016 (D.C. Cir. 2020) (DE 58 at 15-17).

            But Waldman, Livnat, Klieman, and Shatsky cannot avail Defendants, because they rejected

  specific jurisdiction over Defendants on legal grounds later overruled by Ford. Under the

  traditional specific jurisdiction formula, a plaintiff’s claims “must arise out of or relate to the

  defendant’s contacts with the forum” (Ford at 1025), which courts interpreted as demanding some

  causal connection. Ford effected a sea-change in specific jurisdiction, by clarifying under the

  “relate to” prong of the formula, specific jurisdiction may be established without a causal showing.

  Ditter, 2022 WL 889102, at *2 (D. Colo. Mar. 25, 2022) (after Ford, “relate to” test “does not

  require proof of causation between a plaintiff’s suit and a defendant’s activities” in the forum).12

            Waldman is bad law post-Ford because it never even discusses the “relate to” prong of the

  specific jurisdiction formula (which requires no causal link), focuses exclusively on the “arises

  from” prong (which requires causation), and then emphasizes no less than three times it is rejecting


  11
     Defendants dispute only “their alleged involvement in attacks” (DE 58 at 15), which of course is an
  ultimate merits issue for the jury. By contrast, Defendants do not dispute any of the FAC’s factual allega-
  tions regarding the existence of their U.S.-based propaganda activities and the purpose served by those
  activities as a necessary element for achieving the goals of their overall terrorist program. Those undisputed
  allegations are therefore treated as true for the purposes of this motion. Wenz, 55 F.3d at 1505.
  12
       Tellingly, Defendants fail to even mention Ford in their motion.


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  specific jurisdiction because “plaintiffs’ claims did not arise from the defendants’ purposeful

  contacts with the forum.” Waldman, 835 F.3d at 343. Cf. id. (finding twice more that plaintiffs’

  claims did not “arise from” Defendants’ U.S. activities).

           Waldman also rejected the plaintiffs’ specific jurisdiction argument because they did not

  show Defendants’ U.S.-based conduct itself was tortious. Id. at 342 (“connections the defendants

  do have with the United States—the Washington, D.C. and New York missions—revolve around

  lobbying activities that are not proscribed by the ATA.”). But Ford itself shows that in a

  purposeful-availment case, the defendant’s in-forum conduct need not be wrongful or tortious. In

  Ford, the defendant’s in-forum activities involved innocent sales and advertising activities. Id. at

  1027-28. Cf. Burger King Corp. v. Rudzewicz, 471 U.S. 462 (1985) (upholding personal

  jurisdiction based on a course of non-tortious business dealings in the forum).

           Moreover, irrespective of whether (standing alone) they were tortious or wrongful,

  Defendants’ U.S. activities here constitute and satisfy a defined statutory element of Plaintiffs’

  ATA claim—i.e., § 2331(1)(B)—as discussed above.

           Livnat, Klieman, and Shatsky are legally erroneous for similar reasons. In those cases, the

  D.C. Circuit found no jurisdiction because the plaintiffs did not show Defendants’ U.S. contacts

  related to the particular terror attacks in which they were injured. Livnat, 851 F.3d at 57 (no specific

  jurisdiction because plaintiffs had not shown a link between Defendants’ U.S.-related conduct and

  the particular attack); Klieman, 923 F.3d at 1124 (following Livnat, finding “Plaintiffs have not

  alleged tangible facts as to how this attack was intended (or even used ex post) to further

  defendants’ political aims in the United States.”); Shatsky v. PLO, 955 F.3d at 1037 (following




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  Livnat and Klieman and dismissing because there was no “evidence in the record connecting the

  Karnei Shomron bombing to the alleged public relations campaign.”).13

            After Ford, the holdings in Livnat, Klieman, and Shatsky—i.e., that an ATA plaintiff must

  show Defendants’ U.S. activities are tied to the particular terrorist attack which injured her—are

  legally unsound. If we were to apply those holdings to the facts of Ford, the Ford plaintiffs would

  have had to show that Ford’s in-forum activities (sales, advertising) related to the particular

  vehicles harming the plaintiffs. The Supreme Court has rejected any such requirement.

            The constitutional rule established in Ford—that Due Process permits “relatedness”

  without causation—is not limited to a particular cause of action or set of circumstances. While

  Ford happened to involve a product liability suit, courts applying Ford have noted “the pitfalls of

  trying to compare the relatedness of contacts to a given forum in different tort claims for

  jurisdictional analysis,” and cautioned against restricting the “relatedness” holding in Ford to the

  specific circumstances or causes of action in that case. Bibbs v. Molson Coors Beverage Co. USA,

  LLC, --- F.Supp.3d ----, 2022 WL 2900275, at *5, n.2 (N.D. Tex. July 22, 2022).14


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       Notably, the decisions in Waldman, Klieman and Shatsky were given after discovery had been completed.
  14
    The Court should disregard Defendants’ footnote 8, claiming that exercise of jurisdiction “would violate
  fair play and substantial justice” under Peay v. BellSouth Med. Assistance Plan, 205 F.3d 1206 (10th Cir.
  2000). “Arguments [of lack of “fair play and substantial justice”] raised in a perfunctory manner, such as
  in a footnote, are waived.” Titan Feeding, at *8 (citation omitted). Defendants have not attempted to meet
  their burden “to show that the exercise of jurisdiction in the chosen forum will make litigation so gravely
  difficult and inconvenient that [they] unfairly [are] at a severe disadvantage in comparison to” Plaintiffs.
  Peay, at 1212 (cleaned up). Their claim that discovery will take place abroad supports jurisdiction, since
  Peay’s concern was that discovery will occur away from “defendant’s residence or place of business.” Id.
  Nor have Defendants tried to show, because they cannot, that any alleged burden on them outweighs the
  “federal interest in litigating the dispute in the chosen forum.” Id. at 1213. The ATA “was not designed
  simply to afford some forum to victims of terrorism; it was designed to give them a forum in the courts of
  the United States…the ATA was designed to give American nationals broad remedies in a procedurally
  privileged U.S. forum.” Goldberg v. UBS AG, 660 F. Supp. 2d 410, 421-22 (E.D.N.Y. 2009).


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           Accordingly, the Court has specific personal jurisdiction over the Defendants in this case.

       d. The Court Has Personal Jurisdiction Under Fed. R. Civ. P. 23.2

           Alternatively, the Court has jurisdiction over Defendants under Fed. R. Civ. P. 23.2, which

  authorizes a “proceeding in the nature of a class action” against unincorporated associations.15

  FAC ¶ 11; C. Wright, A. Miller, M. Kane, 7C Fed. Prac. & Proc. Civ. § 1861 (3d ed.) (April 2022

  update). Defendants assert “Rule 23.2 does not purport to create personal jurisdiction ... where

  otherwise lacking” (DE 58 at 19) and “if this Court cannot exercise personal jurisdiction over the

  PA and PLO consistent with due process ... Rule 23.2 does not change that result” (id. at 20). This

  assertion is at odds with decades of case law and leading commentators. Rule 23.2, like Rule 23

  (class actions generally) allows a court to assert personal jurisdiction over a litigation class,

  including unincorporated associations, if the court has personal jurisdiction over the named class

  representative. This Court has general personal jurisdiction over Riyad Mansour, the named

  representative for the PLO and PA, as he is a domiciliary of the United States and service was

  effected at Mansour’s home address in Florida. FAC ¶ 31; DE 55; 18 U.S.C. § 2334(a). Because

  the Court has jurisdiction over their representative, the Court may assert jurisdiction over the

  defendant unincorporated associations.

           A. The Court may properly assert personal jurisdiction over the Defendants because
              it has personal jurisdiction over Mansour.

           Federal courts have long held a plaintiff may sue an unincorporated association using the

  form of a class action, even where personal or subject matter jurisdiction might be lacking if the




  15
    Plaintiffs allege that “[t]he PLO and PA are both unincorporated associations.” FAC ¶ 28. Defend-
  ants concede the point. DE 58 at 21.


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  plaintiff had sued the association as an entity or by naming each individual member. Calagaz v.

  Calhoon, 309 F.2d 248 (5th Cir. 1962); Wright & Miller § 1867. Wright & Miller explain

  unincorporated associations may be sued in different ways, and that a plaintiff’s choice may

  determine the extent of a court’s jurisdiction. Id. When the suit is brought as a class action, “service

  must be made only upon the named representatives and the court may proceed on the basis of its

  personal jurisdiction over the named representatives.” Id. Thus, “treatment of unincorporated

  associations as classes provides substantial benefits from the perspective of personal jurisdiction,

  venue, and subject-matter jurisdiction.” Id.; Cf. 5 Moore’s Federal Practice - Civil § 23.2.02

           Modern case law and the history of litigation involving unincorporated associations support

  this conclusion. Prior to the 1966 adoption of Rule 23.2, the Federal Rules of Civil Procedure

  allowed unincorporated associations to sue and be sued as litigation classes under the general

  language of Rule 23. Cf. Calagaz (finding plaintiff and defendant, both of which were

  unincorporated associations, to be properly designated as litigation classes under Rule 23(a);

  Wright & Miller § 1867; David Marcus, The History of the Modern Class Action, Part I: Sturm

  Und Drang, 1953-1980, 90 WASH. U. L. REV. 587, 600 (2013) (noting that the 1938 version of

  Rule 23 allowed “true” class actions, which included those involving unincorporated associations).

           The Calagaz court held class treatment of unincorporated associations under Rule 23 did

  not address only the associations’ legal capacity to sue or be sued. Rather, by regarding the suit as

  a class action, the court was able to assert diversity jurisdiction because the named class

  representatives did not share the same state citizenship as the plaintiff (even though other members

  of the association did). Calagaz, 309 F.2d at 252. Similarly, and critically here, Calagaz held




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  personal jurisdiction over the defendant association was established based upon the court’s

  personal jurisdiction over the named member/class representative. Id. at 253.

           In 1966, Rule 23.2 was enacted to continue the prior practice of allowing a class action

  mechanism to be used as to unincorporated associations while recognizing certain differences that

  made the stringencies of Rule 23 inapplicable to actions involving unincorporated associations.

  Sembach v. McMahon Coll., Inc., 86 F.R.D. 188 (S.D. Tex. 1980); Benjamin Kaplan, Continuing

  Work of the Civil Committee: 1966 Amendments of the Federal Rules of Civil Procedure (I), 81

  Harv. L. Rev. 356, 387 and notes 118-119 (1967). Thus, the Rule 23.2 class mechanism continues

  to provide litigants with many advantages of typical Rule 23 class actions. Curley v. Brignoli,

  Curley & Roberts Assoc., 915 F.2d 81, 85 (2d Cir. 1990).

           These advantages include (a) expanding the number of districts where venue is proper; (b)

  empowering a plaintiff to name only those association members whose citizenship will not disturb

  diversity jurisdiction; and, as relevant here, (c) permitting a court to exercise personal jurisdiction

  over a class representative and thereby obtain jurisdiction over the unincorporated association,

  which might otherwise be beyond the court’s jurisdiction. Id.; see also, Moore’s § 23.2.04

  (identifying venue, subject matter jurisdiction, and personal jurisdiction among procedural

  advantages of suing unincorporated associations under Rule 23.2); Resolution Trust Corp. v.

  Deloitte & Touche, 822 F. Supp. 1512, 1515 (D. Colo. 1993) (personal jurisdiction over

  association based upon jurisdiction over representative member); Battle Fowler v. Brignoli, 765

  F. Supp. 1202, (S.D.N.Y. 1991) (same). Wright & Miller explicitly note suing an unincorporated

  association as a class may facilitate the court’s exercise of personal jurisdiction over the

  association. “[W]hen the association is a defendant, plaintiff’s ability to select the class



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  representatives enables plaintiff to choose adversaries, which is helpful for purposes of securing

  personal jurisdiction.” Wright & Miller § 1867.

           Rule 23.2 is entirely consistent with recent decisions that continue to hold personal

  jurisdiction over a Rule 23 class is perfected where the court has personal jurisdiction over the

  named class representatives. Cf. Mussat v. IQVIA, Inc., 953 F.3d 441, 445 (7th Cir. 2020) (class’s

  affiliation with a forum depends only on the named class representatives); Lyngaas v. Ag, 992 F.3d

  412, 433 (6th Cir. 2021) (in class actions, personal-jurisdiction analysis focuses on the named class

  representative); Molock v. Whole Foods Mkt. Grp., Inc., 952 F.3d 293, 297 (D.C. Cir. 2020); Hood

  v. Am. Auto Care, LLC, 21 F.4th 1216, 1227–28 (10th Cir. 2021) (citing Mussat and Lyngaas

  approvingly). Defendants do not cite a single case holding due process is violated by the class

  action principle that personal jurisdiction may be exercised as to a class based upon jurisdiction

  over named representatives. Instead, they argue a rule of civil procedure cannot override due

  process. (DE 58 at 20-21). This argument is off point because, for jurisdictional purposes, class

  actions are treated differently than other cases; the class’s affiliation with the forum depends only

  on the named class representatives. Mussat, 953 F.3d at 445; Lyngaas, 992 F.3d 435.

         B. Rule 23.2 applies regardless of whether state law provides unincorporated
            associations with capacity to sue and be sued.

           Defendants argue that Rule 23.2 merely affords unincorporated associations capacity to

  sue and be sued in diversity actions brought in federal courts in states that do not afford such

  associations with jural capacity. (DE 58 at 21-22, citing inter alia Northbrook Excess & Surplus v.

  Med. Malpractice Joint Underwriting Ass'n of Massachusetts, 900 F.2d 476 (1st Cir. 1990).

  Defendants assert that Rule 23.2 does not apply here because Colorado law provides

  unincorporated associations with capacity to be sued. Defendants cite in support of this


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  exceedingly narrow construction of the rule a handful of decisions that have been rejected based

  upon the plain language of Rule 23.2, the Advisory Committee Notes, the interplay between

  Federal Rules of Civil Procedure 23.2, 23, and 17, and the pre-Rule 23.2 history of using class

  actions to sue unincorporated associations. Curley, 915 F.2d at 86-87; Kerney v. Fort Griffin

  Fandangle Ass'n, Inc., 624 F.2d 717 (5th Cir. 1980) (“Rule 23.2 clearly authorizes a class action

  against the members of an unincorporated association in Texas” though Texas law provided

  unincorporated associations with capacity); Murray v. Sevier, 156 F.R.D. 235, 240-41 (D. Kan.

  1994); Calagaz (pre-Rule 23.2 decision holding Rule 17(b) is “no obstacle” to class actions based

  upon diversity). Both Wright & Miller and Moore’s Federal Practice agree the expansive view of

  Rule 23.2 is the more reasonable interpretation. Wright & Miller § 1867; Moore’s § 23.2.05[4].

           By its terms, Rule 23.2 allows the class action form to be used in any actions involving

  unincorporated associations. The only limitation found in the Rule is that the class representative

  must fairly and adequately protect the interests of the association and its members. Curley, 915

  F.2d at 86-87; Northbrook, 900 F.2d at 478. Nowhere does Rule 23.2 mention capacity or state

  law rules regarding unincorporated associations. In fact, questions of capacity generally, and that

  of unincorporated associations, specifically, are addressed in Fed. R. Civ. P. 17. If Defendants’

  narrow reading were correct, Rule 23.2 would have been included as a subparagraph within the

  capacity rule – Rule 17(b)(3)(A). Curley, at 87. As Curley noted, “[i]f the drafters of rule 23.2

  intended to provide only a vehicle for capacity, it seems that they would have simply extended to

  the diversity realm rule 17(b)’s grant of association capacity in federal question cases,” and “[i]f

  they intended the anomaly that the availability of class actions would turn on state capacity laws,

  the drafters could have so provided in the text of rule 23.2.” Id.; Cf. Moore’s, § 23.2.05[4].



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           Affording class treatment to unincorporated associations is consistent with class action

  jurisprudence generally. Wright & Miller § 1861.16 Thus, in addition to preventing state capacity

  rules from providing unincorporated associations with an immunity shield, Rule 23.2 maintains

  other advantages afforded by class treatment. Curley, 915 F.2d at 87. As discussed above, these

  advantages include expanding venue options, personal jurisdiction, and diversity subject matter

  jurisdiction based upon the citizenship of the association’s representative alone. Id. at 87; Aetna

  Cas. & Sur. Co. v. Iso-Tex, Inc., 75 F.3d 216, 218 (5th Cir. 1996). Recall Rule 23.2 was designed

  to continue the prior practice of allowing a class action to be used in actions involving

  unincorporated associations. Sembach, 86 F.R.D. 188. Thus, Professor Benjamin Kaplan, who

  served as the reporter to the Advisory Committee on Civil Rules, agrees that Rule 23.2 continues

  to provide the jurisdictional advantages that were available in unincorporated association class

  actions prior to the adoption of Rule 23.2. Kaplan, Continuing Work of the Civil Committee, supra,

  81 Harv. L. Rev. at 387, n. 119. If the drafters had intended to break with the earlier practice by

  limiting the class action device to cases in states that do not afford capacity to unincorporated

  associations, they would have said so in the text of the Rule.

           Defendants also argue it is inappropriate to sue an unincorporated association both as an

  entity and as a class. (DE 58 at 23, citing Coniglio v. Highwood Servs., Inc., 60 F.R.D. 359


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    The Defendants assert that Wright & Miller note a trend after the adoption of Rule 23.2, that the rule
  should be construed narrowly as a rule of capacity. Not so. Wright & Miller opine that state law should
  not interfere with the application of Rule 23.2. However, the commentary recognizes a trend to limit
  the applicability of Rule 23.2 in diversity cases where state law prohibits the use of class actions against
  unincorporated associations. Wright & Miller § 1861. The instant case is not premised upon diversity
  jurisdiction, and Colorado law does not bar class actions in suits involving unincorporated associations.
  Cf. Murray, 156 F.R.D. at 253 (Wright & Miller recognize trend restricting Rule 23.2 only in in cases
  where state law prohibits actions against the associative entity).


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  (W.D.N.Y. 1972)). But Coniglio did not hold, as Defendants maintain, that plaintiffs may not plead

  in the alternative claims against the association as an “entity” and as a class. It merely rejected the

  plaintiffs’ attempt to name the defendant association itself as the representative of the association’s

  members. “Nowhere is the association itself authorized as the proper representative of its members.

  Coniglio, at 364. Moreover, in Coniglio, the defendant association, as an entity, was already

  subject to the court’s jurisdiction. Id. Similarly in Patrician Towers Owners, Inc. v. Fairchild, 513

  F.2d 216 (4th Cir. 1975), also relied upon by Defendants, the association, as an entity, was before

  the court, and the association and its members were suing to enforce a single obligation to the

  association. Id. at 221. The court held the representative action could not be maintained when

  “joined voluntarily by the plaintiffs themselves” with an action by the plaintiffs’ association. Id.

           Here, by contrast, the PLO and PA are challenging the exercise of jurisdiction over them

  as non-class defendants, and if that challenge succeeds, Rule 23.2 will be Plaintiffs’ only basis for

  jurisdiction. Therefore, this is precisely the type of case for which Rule 23.2 was intended, as it

  “provides litigants with important procedural advantages.” Curley, 915 F. 2d at 87; Wright &

  Miller § 1867; Moore’s § 23.2.02. Nothing prohibits Plaintiffs from alternatively pleading their

  claims against Defendants through the class action device of Rule 23.2. Indeed, in Curley, the

  Second Circuit sue sponte held that the plaintiffs could have brought their claim as a class action

  under Rule 23.2, and affirmed the judgment by converting the case (on appeal) into a Rule 23.2

  class action. Id.; cf., Murray, 156 F.R.D. at 240 (court ordered plaintiff to plead his claim as a Rule

  23.2 class action, holding, “[t]he court is exceedingly troubled that this action is not being plead

  under Rule 23.2 when that Rule seems tailor-made for this case.”).




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           C. The FAC properly identifies the two unincorporated associations as classes

           Defendants baselessly argue Plaintiffs fail to allege a class under Rule 23.2. Plaintiffs

  allege both the PA and the PLO are unincorporated associations. FAC ¶¶ 28-29. And Plaintiffs

  named Riyad Mansour, a member of both the PA and the PLO, as class representative. That is

  sufficient under Rule 23.2. Moore’s § 23.2.02 (Rule 23.2 enables a representative suit to be brought

  and enforced against the association itself). Plaintiffs need not allege any specific tortious conduct

  by Mansour because he is being sued as representative of the defendant classes—the associations,

  which are the tortfeasors. Thus, Defendants’ claim “a complaint must explain what each defendant

  did to him or her[,]” (DE 58 at 25) fails.

           Defendants also claim the FAC does not define class membership or an ascertainable class

  (DE 58 at 25-26), citing decisions addressing Rule 23 class actions. But Rule 23.2 does not

  incorporate Rule 23’s requirements precisely because, by definition, the members of an

  unincorporated association constitute a class. A majority of authorities hold that the requirements

  of Rule 23 do not apply to Rule 23.2 actions. Curley, at 85-86; Murray, at 240-41; Wright § 1861.

         D. Mansour Will Fairly and Adequately Represent the Class.

         1. Defendants are estopped from disputing that Mansour is a member

         Defendants do not dispute Mansour is a member of the PLO, but assert he is not a member

  of the PA. DE 58 at 26. This claim is squarely refuted by Defendants’ own representations and

  interrogatory answers in Sokolow v. PLO, 04-cv-397 (S.D.N.Y.). In Sokolow, Defendants moved

  to dismiss the plaintiffs’ nonfederal claims on the grounds that, as unincorporated associations,

  they lacked the capacity to be sued under forum law. At a hearing on that motion, Judge Daniels

  stated Defendants’ status as unincorporated associations had arisen in many ATA cases, and he



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  intended to resolve the question conclusively once and for all so that “every judge is not going to

  have to go through this depending on what’s to the advantage or disadvantage of either party in

  terms of what they want to assert.” Hearing Tr., Aug. 9, 2012 (Perlin, Ex. I at 3-4). In response,

  Defendants repeatedly stated for purposes of the Federal Rules of Civil Procedure generally, they

  should be considered unincorporated associations. Id. at 7, 12, 15, 64. Judge Daniels and the

  plaintiffs replied that to support their claim to be unincorporated associations, Defendants must

  identify their members. Id. at 10, 36.

           Judge Daniels ordered Defendants to respond to discovery requests regarding their claim

  to be unincorporated associations. Among the materials produced were answers to interrogatories

  referencing exhibits that addressed the specific question of who comprised the membership of the

  PA and the PLO. (Perlin, Ex. J). Interrogatories 8 and 9 required Defendants to list the members

  of the PA and PLO. Id. at 8-9. Defendants responded their members included “certain elected,

  appointed, and employed officials” of the PA and PLO who were listed in documents referenced

  by Bates numbers. Id. at 8-10. The referenced documents were pages from the 2001 through 2011

  editions of a privately-published governmental directory. Id. (Perlin, Ex. K). According to the

  documents cited in response to the interrogatories, the members of the PA and PLO are identical.

  Perlin, Ex. J (citing identical Bates stamped documents). Moreover, the membership of both

  unincorporated association defendants identified in the Sokolow interrogatory responses is much

  broader than the limited class of members Defendants describe in their Motion to Dismiss. DE 58

  at 26 (purporting to limit membership of the PA to “the President, Council of Ministers, and

  Legislative Council.”). Most importantly, the documents referred to in the Sokolow interrogatory




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  responses identified Riyad Mansour, by name, as a member of both the PA and the PLO.

  Perlin, Ex. K at 84, 111, 138, 189 (Bates 02:008812, 02:008839, 02:008866 and 02:008917).

           Under the Federal Rules of Civil Procedure and the Federal Rules of Evidence

  interrogatory answers given in one action may be used in another. Sclafani v. Air & Liquid Sys.

  Corp., 2013 WL 12119556, at *6, n.9 (C.D. Cal. Mar. 20, 2013) (citing 8B Wright, Miller &

  Marcus, § 2180 (3d ed. 2010)). Here, Defendants should be bound by their prior answers to

  interrogatories, which provided detailed definitions of their respective memberships and

  specifically identified Mansour as a member of both the PA and PLO. “[A] party opponent’s

  answers to interrogatories are admissible as admissions.” Buckley v. Airshield Corp., 116 F. Supp.

  2d 658, 669 (D. Md. 2000) citing, Gridiron Steel Co. v. Jones & Laughlin Steel Corp., 361 F.2d

  791, 794 (6th Cir. 1966). “Such admissions qualify as substantive evidence of the fact stated

  therein.” Id. citing Fed. R. Evid. 801(d)(2).

           Additionally, Defendants are judicially estopped from denying that Mansour is a member

  of the PA and PLO. Identifying their membership was critical to Sokolow’s acceptance of their

  claim that they were both unincorporated associations. And by establishing their status as

  unincorporated associations, Defendants prevailed on their motion to dismiss New York state law

  claims. Sokolow v. PLO, 60 F. Supp. 3d 509, 524 (S.D.N.Y. 2014). Thus, Defendants are estopped

  from now denying that Mansour is a member of the PA and PLO. New Hampshire v. Maine, 121

  S. Ct. 1808, 1814-15 (2001); Eastman v. Union Pac. R. Co., 493 F.3d 1151 (10th Cir. 2007).

           Rule 23.2 imposes only one requirement for the class action to proceed: the class

  representative fairly and adequately represent the association and its members. Curley, at 85;

  Murray, at 240-41 (same); Wright & Miller, § 1861 (same). “The requirement of ‘fair and adequate



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  representation’ is satisfied when: (1) the named representatives have common interests with the

  other class members; and (2) the class representatives will vigorously prosecute the interests of the

  class through qualified counsel.” Resolution Trust, 822 F. Supp. at 1515 (D. Colo. 1993).

           Here, the named class representative, Riyad Mansour, clearly has common interests with

  the class members and will protect the interests of the class through qualified counsel. Indeed, all

  the Defendants here are represented by the same law firm which has vigorously represented

  Defendants in numerous other terrorism lawsuits in the United States. Cf. Resolution Trust, at 1515

  (adequate representation where litigation was handled by defendant association’s national counsel

  and where class action briefing demonstrated that counsel would vigorously and competently

  protect the interests of the class members.).

           Finally, Defendants offer only a pro forma argument that Mansour cannot be the class

  representative under Rule 23.2 because, they claim, “as an invitee to the United Nations” he enjoys

  immunity “under the UN Headquarters Agreement” for actions performed in the exercise of his

  functions as their representative to that body. DE 58 at 27.17 This argument fails at the threshold

  for the PA, because the PA has no status at all at the UN (FAC ¶ 26), and thus Mansour can have

  no claim to any UN immunity as a member of the PA. More importantly, this argument is a colossal

  red herring: Mansour is not being sued for any of his own actions—much less actions at the UN.

  He is named in this action simply as a representative of the Defendants pursuant to Rule 23.2.


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     Defendants have been claiming non-existent UN immunities in the federal courts for decades. Thus,
  in Ungar v. PA, Defendants argued that the Deputy Permanent Observer of the Permanent Observer
  Mission of Palestine to the United Nations “is immune from service pursuant to the Headquarters
  Agreement treaty between the U.N. and the United States.” 153 F. Supp. 2d 76, 89 (D.R.I. 2001). The
  court rejected this claim because the Headquarters Agreement confers diplomatic immunity only on
  members of the United Nations. Id. citing Klinghoffer, 739 F.Supp. at 864; aff'd, 937 F.2d at 48.


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  Mansour is a citizen and long-time domiciliary of the United States. He is not present in the United

  States because of his positions in the PA and PLO; he is present here because he lives here.

           For all the reasons above, Defendants’ Rule 12(b)(2) motion should be denied.

  II. PLAINTIFFS’ FAC VALIDLY STATES ALL THE CLAIMS ASSERTED

           Defendants’ Rule 12(b)(6) motion should be denied. No court has ever dismissed an ATA

  action against the PLO or PA under Rule 12(b)(6). Nor has any court ever dismissed under Rule

  12(b)(6) an ATA complaint presenting allegations like, or even approaching, those at issue here—

  i.e., where, as here, defendants with a frank ideological and political agenda provided material

  support and resources directly to the designated Foreign Terrorist Organization (“FTO”) that

  carried out the attack. The Rule 12(b)(6) dismissals which Defendants cite involved banks with no

  ideological or political goals, which provided services or assistance to entities alleged to be

  affiliated—somehow—with the terrorist group that actually carried out terrorist attacks at issue.

      a. Direct Primary ATA Liability

           Plaintiffs assert a claim against Defendants for primary liability under ATA § 2333(a), on

  the basis that Defendants’ own actions constituted “international terrorism.” FAC ¶¶ 179-99. The

  term “international terrorism” is defined in the ATA as “activities” that “involve violent acts or

  acts dangerous to human life that are a violation of the criminal laws of the United States or of any

  State, or that would be a criminal violation if committed within the jurisdiction of the United States

  or of any State.” 18 U.S.C. § 2331(1). Those “activities” must also “occur primarily outside the

  territorial jurisdiction of the United States, or transcend national boundaries in terms of the means

  by which they are accomplished [or] the persons they appear intended to intimidate or coerce.” Id.

  Finally, those “activities” must appear to be intend to influence a government or a population. Id.



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           Thus, to prevail on their direct primary liability claim, Plaintiffs need to show Defendants’

  conduct meets the definition of “international terrorism,” and (2) that Plaintiffs were injured “by

  reason of” that conduct. Courts have construed the ATA’s “by reason of” language as requiring

  proximate causation. Atchley v. AstraZeneca UK Ltd., 22 F.4th 204, 226 (D.C. Cir. 2022).

           The allegations here easily plead these elements. As discussed above (regarding specific

  jurisdiction) the FAC alleges Defendants’ actions appeared to be and were intended to influence a

  government and population. And Defendants’ activities obviously “transcended national

  boundaries.” Regarding the remaining elements (dangerousness, criminality and proximate

  causation) the FAC alleges in extensive detail: (1) the PFLP is a designated FTO that over a period

  of decades carried out a huge number of deadly terrorist attacks (¶¶ 115, 154-160) ; (2) for 15 years

  prior to the Attack, the PLO and PA provided the PFLP with massive funding, along with a range

  of other material support and resources, including a geographic base of operations adjacent to

  Israel, direct financial support for PFLP terrorist operatives, a dedicated radio frequency for the

  PFLP’s radio station, and internet access for the PFLP’s websites (¶¶ 126-146) ; and (3) the

  material support and resources provided by Defendants greatly enhanced the PFLP’s

  organizational and operational capabilities, and enabled the PFLP to recruit, build, maintain and

  deploy the human, material, and operational resources and infrastructure in the West Bank and

  Gaza that were needed and used by the PFLP to plan, organize and execute acts of terrorism against

  Jewish and Israeli targets in Israel, the West Bank and Gaza, including the Attack. (¶¶ 126-146,

  153-155, 174).

           These allegations satisfy the ATA’s “dangerousness” element. “Giving money to Hamas,

  like giving a loaded gun to a child … is an ‘act dangerous to human life.’” Boim v. Holy Land



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  Found. for Relief & Dev., 549 F.3d 685, 690 (7th Cir. 2008). Cf. Miller v. Arab Bank, 372 F. Supp.

  3d 33, 45 (E.D.N.Y. 2019) (providing material support to an FTO like the PFLP is “dangerous to

  human life” since those resources “increase [the PFLP’s] ability to carry out attacks.”).

           Defendants’ actions were also criminal (or would be criminal if performed in the United

  States) because the knowing provision of “material support or resources” to an FTO is a violation

  (inter alia) of 18 U.S.C. § 2339B. A violation of § 2339B “requires only knowledge of the

  organization’s connection to terrorism, not intent to further its terrorist activities or awareness that

  one is playing a role in those activities." Linde v. Arab Bank, 882 F.3d 314, 329-30 (2d Cir. 2018).

  Cf. Weiss v. Nat’l Westminster Bank, 768 F.3d 202, 206 (2d Cir. 2014) (“[I]n order to establish

  entitlement to a civil remedy under 18 U.S.C. § 2333(a) predicated on a violation of § 2339B(a)(1),

  Plaintiffs were obliged to show that [the defendant] had actual knowledge that, or exhibited

  deliberate indifference to whether” it was providing “material support to a terrorist organization,

  irrespective of whether the support aided terrorist activities.”). Plaintiffs’ allegations easily meet

  this requirement; indeed, Plaintiffs allege far more: namely, that Defendants provided support to

  the PFLP with the goal of enabling and facilitating terrorist attacks. 18

           The term “material support or resources” includes “any property, tangible or intangible, or

  service, including currency or monetary instruments or financial securities, financial services […]

  safehouses […] communications equipment, facilities […] personnel […] and transportation.” 18

  U.S.C. § 2339A(b)(1). The funding, radio frequency, and internet service that Defendants provided




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     Defendants’ conduct violated many other federal and state criminal laws, ranging from counter-
  terrorism provisions to garden-variety crimes such as reckless endangerment; however, because the
  ATA is satisfied by violation of any criminal provision, Plaintiffs address here only § 2339B.


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  the PFLP obviously all meet this definition. Likewise, Defendants’ support payments to PFLP

  operatives who had been convicted of terrorist crimes and then released, which “provided the PFLP

  with a large pool of experienced and hardened terrorist leaders and operatives” (FAC ¶¶ 133-134),

  constitutes provision of “personnel” to the PFLP under § 2339B. Sattar v. United States, 314 F.

  Supp. 2d 279 (S.D.N.Y. 2004) (by opening a channel of communication between an FTO’s

  imprisoned leader and his confederates on the outside, defendants provided “personnel” to the

  FTO within the meaning of § 2339B); United States v. Kandic, 2022 WL 1266431, (E.D.N.Y. Apr.

  28, 2022) (arranging travel of ISIS recruits to ISIS-held areas constitutes provision of “personnel”

  under § 2339B). Defendants’ provision of a geographical base of operations to the PFLP (FAC ¶¶

  130-132) also constituted provision of material support to the PFLP under § 2339A(b)(1). Rux v.

  Republic of Sudan, 461 F.3d 461, 470 (4th Cir. 2006) (Sudan provided “material support and

  resources” to Al-Qaeda, within the meaning of § 2339A(b)(1), by granting Al-Qaeda a “safe haven

  and a base of operations” on Sudanese territory “from which to conduct its terrorist operations.”).

  Cf. Flanagan v. Islamic Republic of Iran, 190 F. Supp. 3d 138, 177 (D.D.C. 2016) (same).

           Finally, Plaintiffs sufficiently allege causation. “To plead proximate causation, plaintiffs

  must plausibly allege (1) that defendants’ acts were a substantial factor in the sequence of events

  that led to their injuries and (2) that those injuries were reasonably foreseeable or anticipated as a

  natural consequence of defendants’ conduct. Those requirements are met by allegations of some

  reasonable connection between the act or omission of the defendant and the damage which the

  plaintiff has suffered. Proximate causation functions to eliminate the bizarre, by precluding

  liability based on an attenuated causal link more aptly described as mere fortuity.” Atchley, at 226.

  Importantly, “Plaintiffs who bring an ATA action are not required to trace specific dollars to



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  specific attacks to satisfy the proximate cause standard. Such a task would be impossible and would

  make the ATA practically dead letter because money is fungible.” Schansman v. Sberbank of

  Russia, 565 F. Supp. 3d 405, 418-19 (S.D.N.Y. 2021) (cleaned up). Likewise, for primary ATA

  liability, “Plaintiffs are not required to establish ‘but-for’ causation in addition to proximate

  causation.” Kaplan v. Lebanese Canadian Bank, 405 F. Supp. 3d 525, 532 n.3 (S.D.N.Y. 2019).

           Plaintiffs detail how the funds and other forms of material support that the Defendants

  provided to the PFLP in the 15 years prior to the attack boosted the PFLP’s capabilities and enabled

  it to deploy the human and material resources necessary to carry out terrorist Attacks. (FAC ¶¶

  126-146, 153-155, 174). These allegations are analogous to those found adequate in Atchley for

  pleading proximate causation. “Defendants’ alleged support here was similarly a substantial factor

  in plaintiffs’ injuries. They gave both cash and cash equivalents to the terrorist organization that

  harmed plaintiffs, which allowed that organization to grow.” Id. at 227 (emphasis added).

           Plaintiffs also meet the second element of proximate causation, i.e., the Attack was

  reasonably foreseeable or anticipated as a natural consequence of Defendants’ conduct. As Atchley

  held: “Providing fungible resources to a terrorist organization allows it to grow, recruit and pay

  members, and obtain weapons and other equipment. It was reasonably foreseeable that financially

  fortifying Jaysh al-Mahdi would lead to the attacks that plaintiffs suffered.” Id. Exactly so here,

  Defendants provision of a broad range of material resources to the PFLP “allow[ed] it to grow,

  recruit and pay members, and obtain weapons and other equipment,” and it was thus “reasonably

  foreseeable that … fortifying [the PFLP] would lead to” terror attacks like that here. Moreover, as

  explained in the FAC, Defendants affirmatively desired such attacks.




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           Defendants present several meritless arguments in response to Plaintiffs’ direct primary

  liability claim.

           First, Defendants claim Plaintiffs’ allegation that the Attack was carried out by the PFLP

  is “conclusory.” That is absurd: Plaintiffs identify by name four senior PFLP leaders (of whom

  two are quoted verbatim) who confirmed the PFLP executed the Attack, and explained why the

  PFLP did so. FAC ¶¶ 172-173.

           Second, Defendants repetitiously and baldly claim that Plaintiffs’ allegations are

  “conclusory” and/or implausible. Yet (with the sole exception of the PFLP executing the Attack,

  just discussed), Defendants never identify any specific allegations they believe are conclusory or

  not plausible, much less explain why they purportedly are deficient. “Defendant fails to engage in

  a proper 12(b)(6) analysis. Specifically, Defendant fails to explain why Plaintiff’s factual

  allegations in his complaint, accepted as true, fail to state a claim to relief that is plausible on its

  face. Defendant offers little in the way of a 12(b)(6) challenge beyond counsel’s cursory factual

  assertions. Because it is Defendant’s burden to show that dismissal is warranted, the Court will not

  sua sponte engage in this analysis with regard to Plaintiff’s … claim.” Aicher v. Access Corr., 2017

  WL 8944040, at *5–6 (D.N.M. Aug. 28, 2017), report and recommendation adopted, 2017 WL

  4338552 (D.N.M. Sept. 28, 2017) (cleaned up, citing Iqbal). Cf. Luna v. Bank of Am. NA, 2015

  WL 11120875, at *10 (N.D. Tex. Nov. 9, 2015), report and recommendation adopted 2016 WL

  158128 (N.D. Tex. Jan. 12, 2016) (“Defendant fails to explain how Plaintiff’s allegations in

  support of his claims […] fail to state a claim under 12(b)(6) […] Its conclusory statement, without

  any explanation or support, is simply not persuasive.”).




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           Third, Defendants repetitively claim their provision of material support to the PFLP was

  “limited and generalized.” This self-serving characterization has no support in the FAC, in any

  materials which may be considered on a Rule 12(b)(6) motion—or in any other source. To the

  contrary, the FAC makes clear Defendants’ support for the PFLP was extensive (not limited), and

  diversified (not generalized). And some of the in-kind support (geographical base of operations,

  dedicated frequency for PFLP radio, etc.) was unique, invaluable, and irreplaceable. Defendants

  have simply conjured up this characterization out thin air. The Court should disregard it.19

           Fourth, Defendants misrepresent Plaintiffs’ allegations. The FAC alleges Defendants

  provide on-going financial support to PFLP operatives who were incarcerated for terrorist crimes

  and then released, thereby proving the PFLP with a pool of experienced terrorist personnel.

  Plaintiffs also allege Defendants provide the PFLP with a dedicated radio frequency on the

  bandwidth controlled by Defendants, and internet privileges on Defendants’ top-level domain.

  Defendants misrepresent these allegations, and portray them as payments to incarcerated terrorists,

  and refusal to shut down (rather than affirmative provision of) the PFLP websites and radio.

           Fifth, Defendants cite to a number of ATA decisions, but none of them is relevant to the

  facts, allegations, or posture of this case. Thus, Shatsky v. PLO, 2017 WL 2666111 (D.D.C. June

  20, 2017) was a summary judgment decision, not a Rule 12(b)(6) decision, and was entered on a

  limited factual record after the court struck much of the plaintiffs’ evidence. Id. at *3.20 Shatsky



  19
    The Court should also disregard Defendants’ strange demand that the Court take judicial notice of
  an internet report about a current policy disagreement between them and the PFLP. (DE 58 n.28). The
  2022 report is neither cognizable on a Rule 12(b)(6) motion nor relevant to events in 2014 and earlier.
  20
    The D.C. Circuit later found that the Shatsky court lacked personal jurisdiction, and so vacated the
  decision and dismissed the case without prejudice. 955 F.3d 1016 (D.C. Cir. 2020).


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  found that Defendants’ payment of rent for a single PFLP office was insufficient to establish

  proximate causation. Clearly, the facts of Shatsky are light-years from those here. Furthermore,

  Shatsky indicated the result would have been different if the plaintiffs had shown Defendants

  provided “millions of dollars” to the PFLP. Id. at *9. Plaintiffs have alleged in this case that

  Defendants provided the PFLP with millions of dollars annually, as well as many other types of

  material support. Thus, Shatsky supports Plaintiffs here, not Defendants.

           Defendants also cite Rothstein v. UBS AG, 708 F.3d 82 (2d Cir. 2013), Owens v. BNP

  Paribas, S.A., 897 F.3d 266 (D.C. Cir. 2018) and Kemper v. Deutsche Bank AG, 911 F.3d 383 (7th

  Cir. 2018) but those cases are even further off base—they dealt with ATA suits against banks that

  provided banking services to Iran and Sudan which, in turn, were alleged to have funded the

  terrorist groups that harmed the plaintiffs. Unsurprisingly courts held such twice-removed theories

  of liability, which bear no resemblance to the facts here, are not viable. Defendants repeatedly

  quote Rothstein to the effect that governmental entities have “many legitimate agencies,

  operations, and programs to fund” (DE 58 at 29, 31, 35), but the court there was not discussing

  Iran’s provision of support to terrorist groups, but rather the bank’s provision of services to Iran,

  and was making the point that not every dollar that goes to Iran goes to terrorism. By contrast,

  Iran’s provision of material support to terrorist groups has rendered it liable in U.S. federal courts

  many times, and no court has ever found it to be “legitimate.” Thus, Defendants’ provision of

  material support to the PFLP is analogous to Iran’s provision of such support to Hizbollah, and not

  to the Rothstein defendant’s provision of banking services to Iran.

           Finally, Defendants argue because Plaintiffs are suing Iran and Syria under the Foreign

  Sovereign Immunity Act (“FSIA”) for their roles in supporting the PFLP, their allegations against



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  Defendants are (somehow) defective. DE 58 at 32-33. This argument borders on the frivolous.

  ATA plaintiffs often bring parallel FSIA suits (usually in different courts, due to the venue rules

  for ATA and FSIA cases) and there is nothing contradictory or improper about doing so. Indeed,

  the identical argument has been rejected. Kaplan, 405 F. Supp. 3d at 533 n.4 (rejecting ATA

  defendant’s claim that plaintiffs could not show that it was a proximate cause of their injuries

  because the court in plaintiffs’ FSIA suit had found that “North Korea and Iran provided the

  weapons, training, logistical support, infrastructure, and financing, utilized by Hizbollah to commit

  the rocket attacks that caused Plaintiffs’ injuries. Because it is common for injuries to have multiple

  proximate causes this argument is unavailing.”) (cleaned up).

           Therefore, Plaintiffs’ direct primary liability claim should proceed.

      b. Primary ATA Liability On the Basis of Respondeat Superior

           Plaintiffs assert Defendants are also primarily liable under the ATA under respondeat

  superior, because the Attack was an “act of international terrorism” under § 2333(a), and the

  PFLP—as an organization—executed the Attack as Defendants’ agent. FAC ¶¶ 200-204.

           The ATA allows imposition of liability on a defendant for the acts of its agents, pursuant

  to the doctrine of respondeat superior. “The ATA was ‘intended to incorporate general principles

  of tort law,’ of which respondeat superior is unquestionably one. See Wultz, 755 F.Supp.2d at 55;

  Estate of Parsons v. Palestinian Auth., 651 F.3d 118, 148 (D.C.Cir. 2011) (Brown, J., concurring)

  (“Respondeat Superior liability is an elementary principle of tort law and must therefore inform

  our interpretation of the federal torts created in the [ATA]. Thus, the [PA] is liable for the acts of

  its employees committed within the scope of their employment.”) (citation omitted); see also Gill,

  893 F.Supp.2d at 558 (finding that plaintiff was correct in contending that the ATA provides for



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  liability on a theory of respondeat superior); Abecassis v. Wyatt, 785 F.Supp.2d 614, 649–50

  (S.D.Tex. 2011).” Sokolow v. PLO, 60 F. Supp. 3d 509, 516 (S.D.N.Y. 2014).21

           Alfaro-Huitron v. Cervantes Agribusiness, 982 F.3d 1242 (10th Cir. 2020) clarified the

  elements of respondeat superior liability in tort where, as here, the agent is not the employee of

  the principal.22 The Court of Appeals held that “not every agent is an employee,” that the “minimal

  level of control required to establish an agency relationship stands in contrast to the much more

  significant and intrusive right of control that makes an agent an employee,” that the “right to

  control need not be exercised for an agency relationship to exist,” that the “principal’s control may

  concern only the overall mission, not operational details,” and that the right of control “need not

  be control over the manner and means of the agent’s performance of work.” Id. at 1252-55.

           Plaintiffs’ allegations easily meet these elements. The FAC alleges in detail that

  Defendants and the PFLP (which is the second-largest faction within the PLO) share the identical

  ideological goal of gaining control of territories governed by Israel, that Defendants and the PFLP

  have worked together for many decades to achieve this goal by employing terrorism and the threat

  of terrorism, and that for many decades Defendants have provided the PFLP with material

  resources to carry out terrorism, while Defendants carefully remain at arm’s-length from the


  21
     Sokolow was vacated for lack of personal jurisdiction, but the Supreme Court has directed the Second
  Circuit to reexamine that dismissal in light of the PSJVTA. If the Second Circuit vacates the jurisdictional
  dismissal, Sokolow’s respondeat superior ruling will collaterally estop Defendants from contesting the
  availability of respondeat superior liability under the ATA, because (tellingly) Defendants did not challenge
  the respondeat superior ruling on appeal. See Brief and Special Appendix for Defendants-Appellants,
  Sokolow v. Palestine Liberation Organization, 15-3135 (2d. Cir.), DE 87 at 6 (listing issues on appeal). In
  any event, though not technically preclusive against Defendants at this time, the Sokolow respondeat supe-
  rior decision remains persuasive authority, as do the authorities cited therein.
  22
    Though Alfaro-Huitron was a New Mexico case, the Tenth Circuit conducted its analysis under federal
  common law principles as reflected in the Restatement (which New Mexico follows). Id. at 1259, n.6


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  violence in order to effectively conduct public advocacy and thereby leverage the violence into

  political gains. Id. ¶¶ 108-153. Moreover, Defendants have both the practical ability and the legal

  right to control the conduct of the PFLP. Id. ¶¶ 112-113; 125. These allegations, which reflect an

  agency relationship between Defendants and the PFLP to carry out terrorist attacks, consistent with

  the principles outlined in Alfaro-Huitron, clearly support Plaintiffs’ theory of respondeat superior

  liability. In fact, the PFLP confirmed that it executed the Attack to advance the goal of its agency

  relationship with Defendants, namely: wresting control of territories from Israel. FAC ¶ 173 (PFLP

  officials explain that “the two martyrs’ blood that was shed yesterday has reinforced Jerusalem’s

  Arab identity, and has thwarted the attempts to Judaize [sic] Jerusalem,” and that the Attack

  “prove[s] that … we will continue to chase this enemy wherever it is until he leaves our land.”).

           Defendants challenge Plaintiffs’ respondeat superior claim by building and thrashing a

  strawman; Defendants argue that “a respondeat superior claim … would require Plaintiffs to

  plausibly plead that the Attackers were the Defendants’ agents,” and that “Plaintiffs have not

  alleged facts sufficient to raise a reasonable inference … that an employment relationship existed.”

  (DE 58 at 38, emphasis added). But it is crystal-clear from the FAC that the PFLP itself—as an

  organization—is alleged to be Defendants’ agent. FAC ¶¶ 200-204.23 Defendants’ claim about the

  purported failure of the FAC to adequately allege an agency relationship between Defendants and

  the two individual murderers are non sequiturs, irrelevant to the actual allegations of the FAC. And




  23
    An agent need not be a natural person; an organization or entity can be an agent for respondeat superior
  purposes. Cf. Jenco v. Islamic Republic of Iran, 154 F. Supp. 2d 27, 34 (D.D.C. 2001) (finding Iran liable
  under respondeat superior for the terrorist actions of Hizbollah); In re Parmalat Sec. Litig., 474 F. Supp.
  2d 547 (S.D.N.Y. 2007) (member of global accounting firm, which was an umbrella organization for mem-
  ber firms, could be liable under respondeat superior for fraud committed by Italian member firm).


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  Alfaro-Huitron establishes that respondeat superior liability does not require any “employment

  relationship.”24 Thus, Defendants fail to address, much less demonstrate the insufficiency of, the

  actual allegations of Plaintiffs’ respondeat superior theory, or the relevant law.

           Defendants also claim respondeat superior liability is unavailable under the ATA. This

  assertion ignores Sokolow and the unanimous cases cited therein. In purported support of this claim

  Defendants cite a few cases but (here again) the cases do not say what Defendants claim they do.

  Defendants cite Boim v. Am. Muslims for Palestine, 9 F.4th 545 (7th Cir. 2021), but that case dealt

  only with veil-piercing and alter ego theories in post-judgment enforcement proceedings, and has

  literally nothing to do with respondeat superior.25 Defendants also cite Parsons v. PA, 715 F. Supp.

  2d 27, 34 (D.D.C. 2010), but that case explicitly dealt with “a conspiracy claim,” not respondeat

  superior. And on appeal, the only judge to reach the issue held that the ATA allows respondeat

  superior liability. Parsons v. PA, 651 F.3d 118, 148 (D.C.Cir. 2011) (Brown, J., concurring).

           Defendants’ citation to Mohamad v. PA, 566 U.S. 449 (2012) is even further afield. The

  question in Mohamad was whether the Torture Victim Protection Act (“TVPA”), whose plain text

  is expressly limited to claims against an “individual,” could be construed to include claims against

  these Defendants by the family of a U.S. citizen tortured to death by PA personnel. The Supreme

  Court held that it could not “read ‘individual’ so unnaturally. The ordinary meaning of the word,


  24
    In putative support of their assertion that respondeat superior requires an employer-employee relation-
  ship, Defendants cite Am. Select Ins. Co. v. Johnson, U.S. Dist. LEXIS 101446, (D. Colo. June 18, 2018).
  But Defendants are aware of the contrary decision in Alfaro-Huitron, since they cite that case for other
  purposes in their motion. (Id. at 38). Thus, their reliance on Am. Select Ins. Co, which they know to be
  unfounded under the later decision in Alfaro-Huitron, is not made in good faith.
  25
    Defendants the term “vicarious liability” as a synonym for respondeat superior liability, but the two con-
  cepts are not co-extensive, and respondeat superior liability is available even where secondary liability
  (such as aiding and abetting) is not allowed. In re Parmalat Sec. Litig., 474 F. Supp. 2d at 550-52.


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  fortified by its statutory context, persuades us that the Act authorizes suit against natural persons

  alone.” Id. at 453-54. This holding is, obviously, irrelevant to the question of whether the ATA

  allows respondent superior liability. 26 Indeed, unlike the TVPA, the ATA nowhere limits or

  defines the types of defendants who may be held primarily liable under ATA. Cf. ATA § 2333(a)

  (limiting only the class of plaintiffs, not the class of defendants who may be held liable).

           The fact Congress left the class of ATA defendants wide open and unlimited is further

  grounds in favor of allowing respondent superior liability under the ATA. Indeed, since the ATA

  allows suits against entity defendants, and since entities can act only through human agents, 27

  barring respondeat superior liability in ATA cases would render the ATA a dead letter in actions

  against terror groups or other entities, and limit its application solely to defendants who are natural

  persons. Obviously, Congress intended no such thing; rather, by allowing suits against entity

  defendants under the ATA, Congress necessarily intended to allow respondeat superior liability.

           Plaintiffs thus state a valid claim for primary liability on the basis of respondeat superior.

       c. Secondary ATA Liability – Aiding and Abetting

           Section 2333(d) of the ATA provides in relevant part that where, as here, a terrorist attack

  was committed by an FTO, “liability may be asserted as to any person who aids and abets, by

  knowingly providing substantial assistance, or who conspires with the person who committed such


  26
     In fact, the D.C. Circuit found that the Mohamad plaintiffs had waived any argument that the PA or PLO
  could be held liable under the TVPA pursuant to respondeat superior, but that such an argument would
  likely have failed, precisely because Congress had specifically limited the TVPA to defendants who (unlike
  the PA and PLO) are natural persons. Mohamad v. Rajoub, 634 F.3d 604, 608-09 (D.C. Cir. 2011), aff’d
  566 U.S. 449 (2012). This decision, too, supports the conclusion that the ATA—which permits suits against
  any type of defendant—allows respondeat superior liability.
  27
    “Corporations and other legal entities…are not living, breathing human beings and therefore can act only
  through their agents.” In re Parmalat Sec. Litig., 594 F. Supp. 2d 444, 451 (S.D.N.Y. 2009).


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  an act of international terrorism.” § 2333(d)(2). The FAC alleges that Defendants are liable under

  § 2333(d)(2) because they aided and abetted the PFLP. FAC ¶¶ 205-211. In enacting ATA §

  2333(d), “Congress expressly embraced the aiding-and-abetting analysis in Halberstam v. Welch

  [705 F.2d 472, 474 (D.C. Cir. 1983)] as providing the proper legal framework for how aiding-and-

  abetting liability should function under the Act.” Atchley, 22 F.4th at 219 (cleaned up). Halberstam

  “sets out three elements of aiding-and-abetting liability: (1) the party whom the defendant aids

  must perform a wrongful act that causes an injury; (2) the defendant must be generally aware of

  his role as part of an overall illegal or tortious activity at the time that he provides the assistance;

  (3) the defendant must knowingly and substantially assist the principal violation.” Id. at 220.

           Defendants assert the FAC fails to sufficiently allege Defendants were “generally aware of

  [their] role as part of an overall illegal or tortious activity,” or that they “knowingly and

  substantially assist the principal violation.” DE 58 at 40-43. This assertion is meritless. Under ATA

  2333(d) “a defendant may be liable for aiding and abetting an act of terrorism if it was generally

  aware of its role in an overall illegal activity from which an act of international terrorism was a

  foreseeable risk. There is no specific intent requirement. … And Halberstam’s use of ‘generally’

  as a modifier for ‘aware’ imparts a connotation of something less than full, or fully focused,

  recognition. Thus, a defendant need not be generally aware of its role in the specific act that caused

  the plaintiff’s injury; instead, it must be generally aware of its role in an overall illegal activity

  from which the act that caused the plaintiff’s injury was foreseeable.” Atchley at 220 (cleaned up).

           Plaintiffs allegations easily meet this standard. As detailed in the FAC, Defendants

  provided material support and resources to the PFLP—including financial support to convicted

  PFLP terrorists who had been released—for 15 years prior to the Attack, for the specific purpose



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  of enabling the PFLP to carry out acts of terrorism; thus, PFLP terrorist acts were not only

  foreseeable by Defendants, they were affirmatively desired by them. Moreover, throughout this

  period, the PFLP was carrying out huge numbers of deadly terrorist attacks. FAC ¶¶ 154-160.

  Following one of the most horrific of these attacks—in which PFLP operatives entered the home

  of Jewish family and murdered the parents, two children and a three-month-old infant (whom they

  decapitated), Defendants called for the release of the PFLP murderers on the grounds that all

  Palestinians “have the right to resist the occupation, and they have a duty to resist the occupation,”

  and have been making Pay-for-Slay payments to the murderers’ families. FAC ¶¶ 158-160.

  Defendants were thus well aware of their role in “of an overall illegal or tortious activity,” and

  welcomed that role.

           Defendants’ challenge to the “knowing and substantial assistance” element fares no better.

  The “knowledge” element “requires that the defendant know that it is providing assistance—

  whether directly to the FTO or indirectly through an intermediary. If the defendant knowingly—

  and not innocently or inadvertently—gave assistance, directly or indirectly” then the “knowledge”

  element is met. Atchley at 222 (cleaned up). Obviously, this element is satisfied here; Defendants

  provided material support directly to the PFLP with their eyes (and hands) wide open.

           As for the final element, “substantial assistance,” Halberstam “identifies six factors to

  weigh: (i) the nature of the act assisted, (ii) the amount and kind of assistance, (iii) the defendants’

  presence at the time of the tort, (iv) the defendants’ relationship to the tortious actor, (v) the

  defendants’ state of mind, and (vi) the duration of assistance. No factor alone is dispositive, and

  the weight of each varies with the circumstances of the particular claim. What is required is that,




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  on balance, the relevant considerations show that defendants substantially assisted the acts of

  terrorism.” Atchley at 221 (cleaned up).

           All six of these factors strongly support Plaintiffs’ claims: (i) The “nature of the act assisted

  dictates what aid might matter, i.e., be substantial.” Id. (cleaned up). Here, since the acts assisted

  were terror attacks, Defendants’ provision of millions of dollars annually to the PFLP was critical,

  because: “Financial support is indisputably important to the operation of a terrorist organization,

  and any money provided to the organization may aid its unlawful goals.” Id. (cleaned up).

  Moreover, as explained in the FAC, each of the other types of material support was important to

  the PFLP’s ability to operate adjacent to, and to carry out attacks in, Israel; to deploy personnel

  (who were being financially supported by Defendants); to recruit new members and supporters,

  and generally to maintain and grow the organization; (ii) For the same reasons, the amount and

  kind of assistance provided to the PFLP by Defendants was substantial. Notably, the assistance

  does not have to be “indispensable to the injurious acts,” nor does the defendant need to be the

  sole source of assistance. Id. (cleaned up) (rejecting claim that parallel Iranian funding of the FTO

  negated ATA liability); (iii) The Defendants were not present in the synagogue, but they were just

  a few miles away, since Jerusalem is bordered by the West Bank, and is a 20 minute drive from

  Defendants’ headquarters in Ramallah; (iv) Defendants have a very close relationship with the

  PFLP, which is a faction within the PLO itself; (v) The Defendants’ state of mind was extremely

  culpable—Defendants provided material support to the PFLP to facilitate terrorism; (vi) The

  duration of the assistance was extremely long—between 1999 and 2014.

           Accordingly, Plaintiffs have adequately pled aiding and abetting.




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      d. Secondary ATA Liability – Conspiracy

           As noted above, § 2333(d) provides when a terrorist attack is committed by an FTO,

  “liability may be asserted as to any person who aids and abets, by knowingly providing substantial

  assistance, or who conspires with the person who committed such an act of international

  terrorism.” § 2333(d)(2) (emphasis added). The FAC alleges Defendants are liable under § 2333(d)

  because they conspired with the PFLP. Id. ¶¶ 212-218.

           To date, few if any conspiracy claims under § 2333(d) have been found viable. There is a

  simple reason for that: the vast majority of ATA actions are brought against commercial actors

  (banks, internet companies), which do not share any of the goals of the FTO. Typically, these

  commercial defendants interact with FTOs out of greed (e.g., banks or other businesses) or out of

  inertia (e.g., internet companies which do not screen their users). This case is very different: here,

  Defendants are deeply driven by an ideology and political goals, which are shared by the PFLP.

  This case is a perfect fit for conspiracy liability.

           To plead a civil conspiracy, the plaintiff must allege: “(1) an agreement between two or

  more persons; (2) to participate in an unlawful act”; “(3) an injury caused by an unlawful overt act

  performed by one of the parties to the agreement; (4) which overt act was done pursuant to and in

  furtherance of the common scheme.” Halberstam, 705 F.2d at 477. Plaintiffs’ allegations squarely

  meet these requirements. The whole warp and woof of the FAC details the agreement between

  Defendants and the PFLP to use terrorism to advance their shared political goals. Clearly, this

  constitutes an agreement between two or more persons to participate in unlawful acts. Likewise,

  Plaintiffs were injured by the Attack, which was one of the many terror attacks carried out by the




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  PFLP over the years, further to the common scheme with Defendants. If these Plaintiffs cannot

  sue for conspiracy under ATA § 2333(d), it is difficult to imagine which plaintiffs could.

      e. The Nonfederal Claims Are Viable

           The FAC asserts claims for negligence and vicarious liability under Israel’s Civil Wrongs

  Ordinance (“CWO”). There have been many terror attacks in Israel, where Americans widely visit,

  study and live. As a result, our federal courts have often had occasion to apply these selfsame

  CWO claims in ATA (and FSIA actions), and have even developed a body of case law in respect

  thereto. Cf. Wultz v. Islamic Republic of Iran, 755 F. Supp. 2d 1, 57-67, 80-81 (D.D.C. 2010) (ATA

  case); Leibovitch v. Syrian Arab Republic, 25 F. Supp. 3d 1071, 1084 (N.D. Ill. 2014) (FSIA case).

           Defendants’ anemic assertions (DE 58 at 43-44) that Plaintiffs’ claims are not viable under

  Israeli law is rebutted in the attached Declaration of Dr. Boaz Shnoor, an Israeli tort law professor.

           WHEREFORE, Defendants’ motion should be denied in its entirety.




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